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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA
SACRAMENTO DIVISION

UNITED STATES OF AMERICA, ex rel.
DENIKA TERRY and ROY HUSKEY II,
and each of them for themselves individually,
and for all other persons similarly situated and
on behalf of the UNITED STATES OF
AMERICA,

Plaintiffs/Relators,
Vs.

WASATCH ADVANTAGE GROUP, LLC,
WASATCH PROPERTY MANAGEMENT,
INC., WASATCH POOL HOLDINGS,
LLC, CHESAPEAKE COMMONS
HOLDINGS, LLC, LOGAN PARK
APARTMENTS, LLC, LOGAN PARK
APARTMENTS, LP, and DOES 1-30,

Defendants.

|| GS. ex rel. Terry v. Wasatch Advantage Group

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Case No. 2:15 CV 0799 KJM DB

PLAINITFFS’ EX PARTE APPLICATION
PER STANDING ORDER TO RE-SET
CLASS CERTIFICATION MOTION
HEARING DATE

CLASS ACTION

Date/Time: No hearing set absent Court
order, per Standing Order

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Piaintiffs Denika Terry and Roy Huskey II (“plaintiffs”), by and through their counsel,
hereby request pursuant to this Court’s Standing Order for Civil Law and Motion that the Court
re-set the date for hearing on plaintiffs’ motion for class certification from September 22, 2017 to
October 20, 2014. The new date has been clearedey the Courtroom Clerk.

Plaintiffs seek the re-setting of this hearing date because the current hearing date falls on
Rosh Hashana, the Jewish New Year, which lead counsel for plaintiffs observes. Declaration of
David Lavine (“Lavine Decl.”), (2. Plaintiffs propose the new date in order to avoid a religious
conflict for their counsel. Jd.

Pursuant to this Court’s Standing Order, plaintiffs met and conferred with defendants, at
which time defendants’ agreed to the hearing date change but did not want the briefing schedule
re-set. Lavine Decl., 3. Yet when plaintiffs prepared a bland, non-controversial stipulation
seeking the hearing date change, noting defendants’ position on the briefing schedule, and
leaving it to the Court to maintain or re-set the briefing schedule, defendants refused to sign it.
id, at 4, Ex. A. Plaintiffs were stunned, as lead counsel for plaintiffs has never had to seek a
hearing extension by way of ex parte application in order to clear.a religious conflict before. Id.

Plaintiffs respectfully submit this request ex parte because there is not sufficient time to
have the matter briefed and heard on the Court’s civil law and motion calendar prior to the
currently-set class certification motion hearing date, and in the absence of agreement from

defendants.

Respectfully submitted,
Date: September 5, 2017
LAW OFFICES OF ANDREW WOLFF

is/

David Lavine
Attorneys for Plaintiffs/Relators
Denika Terry and Roy Huskey III

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